     23-10164-smr Doc#385 Filed 02/09/24 Entered 02/09/24 12:14:33 Ltr/Exhibit int ptys Pg
                                          1 of 1
                                       UNITED STATES BANKRUPTCY COURT
                                               Western District of Texas
                                                    903 SAN JACINTO, SUITE 322
                                                         AUSTIN, TX 78701
Barry D. Knight                                                                                                             (512) 916−5237
CLERK OF COURT

DATE:         February 9, 2024

Jay H. Ong/ Thanhan Nguyen
MUNSCH HARDT KOPF & HARR PC
1717 W 6th St #250
Austin TX 78703




RE: Exhibits
      Bankruptcy Case No.:                      23−10164−smr
               Case Style:                      ASTRALABS Inc
Dear     Mr Ong/ Mr Nguyen:

        A final order was entered on 2/1/24 regarding the following contested matters:
                                          Doc. #351 Ch 7 Trustee's Motion to Sell


      Exhibits that were submitted to the Court for consideration are no longer necessary as a dispositive order has
been entered.

       Please notify the Bankruptcy Court Clerk's Office in order to retrieve the exhibits, submitted by you, no later
than 2/20/24 If we do not hear from you by this date, your exhibits will be destroyed by the Bankruptcy Clerk's
Office without further notice.


                                                                           Barry D. Knight
                                                                           Clerk, U. S. Bankruptcy Court

                                                                           BY: Laurie Boyd




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                                                                                                                          [Exhibits Letter] [Ltrex]
